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                           UNITED STATES DISTRICT COURT                                                           d




                                               for the

                                     District of Nebraska


               Request for Modifying the Conditions or Term of Supervision
                              with Consent of the Offender
                    (Probation Form 49, Waiver of Hearing is Attached)


Name of Offender:                   Ernest Thornton                 Docket Number: 8:96CR46-3

Sentencing Judge:                   The Honorable Lyle E. Strom
                                    U.S. Senior District Judge

Date of Original Sentence:          December 29, 1997

Original Offense:                   Conspiracy to Possess with Intent to Distribute Cocaine Base
                                    21 U.S.C. 846

Original Sentence:                  136 months custody; 5 years supervised release

Type of Supervision:                Supervised release

Date Supervision Commences:         January 13,2006 to January 12,2011



                               PETITIONING THE COURT

-      To extend the term of supervision for             , for a total term of


 X     To modify the conditions of supervision as follows:

As a special condition of supervision, Ernest Thornton [is] to reside at and participate in a
community corrections center program under the community corrections component as
approved by the Probation Office, for a period not to exceed 180 days or until discharged by
the program director pursuant to 18 U.S.C. 5 3563(b)(11).

As a special condition of supervision, shall submit to one drug test within fifteen days of
release from imprisonment and at least two drug tests thereafter, not to exceed eight tests per
month, as directed by the probation officer, pursuant to 18 U.S.C. 5 3583(d).
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THORNTON, Ernest
Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender
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                                              CAUSE

Mr. Thornton is currently being supervisedby U.S. Probation Officer Jarrod Kennelly in the Central
District of California. Mr. Thornton recently admitted to marijuana use and has previously admitted
to cocaine use. USPO Kennelly believes that increased drug testing and placement in a community
corrections center will provide additional structure to keep Mr. Thornton in compliance with the
court order.


                                                     Reviewed by,



U.S. Probation Officer
                                                    hi<in$gAsh'
                                                     U.S. Probation Officer




THE COURT ORDERS



- No Action

- The Extension of Supervision as noted above
       The Modification of Conditions as noted above

- Other             n



~ h e ~ d n o r a bLyle
                   l e E. Strom                             Date
U.S . Senior District Judge
